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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF LOUISIANA

LATRIS JOLLA and CARLIYAH
BRACKEN, individually
and on behalf of all others similarly
situated,

       Plaintiffs                                      Case No.:__________________

v.                                                     CLASS ACTION

ACADIA HEALTH, LLC                                     JURY TRIAL DEMANDED
D/B/A JUST KIDS DENTAL,


       Defendant



     CLASS ACTION COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF


       1.      Plaintiffs Latris Jolla and Carliyah Bracken (“Plaintiffs”), individually and on

behalf of all others similarly situated, bring this action against Defendant Acadia Health, LLC

d/b/a Just Kids Dental (“JKD” or “Defendant”) to obtain damages, restitution, and injunctive relief

from Defendant. Plaintiffs make the following allegations upon information and belief, except as

to their own actions, the investigation of their counsel, and facts that are a matter of public record.

                                   NATURE OF THE ACTION

       2.      This class action arises out of Defendant JKD failures to properly secure, safeguard,

encrypt, and/or timely and adequately destroy Plaintiffs’ and Class Members’ sensitive personal

identifiable information that it had acquired and stored for its business purposes. This failure to

secure and monitor its network resulted in an August 2023 data breach (“Data Breach”) of highly

sensitive documents and information stored on the computer network of Just Kids Dental, an
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organization that provides medical treatment and/or employment to individuals, including

Plaintiffs and Class Members.

        3.      Defendant’s data security failures allowed a targeted cyberattack in or about August

2023 to compromise Defendant’s network (the “Data Breach”) that contained personally

identifiable information (“PII”) and protected health information (“PHI”) (collectively, “the

Private Information”) of Plaintiffs and other individuals (“the Class”).

        4.      According to a notice JKD sent to State Attorney Generals, the breach has affected

“129,623 individuals.”1

        5.      According to a notice on its website, Defendant confirmed that “cyber event”

occurred on its network on August 2, 2023.

        6.      Defendant’s website notice states: “On the evening of August 7th, 2023, a program

was used to encrypt JKD’s computer networks and data, including systems that Just Kids Dental

uses to store certain patient and employee files. This incident was discovered on the morning of

August 8, 2023.”2

        7.      Despite learning of the Data Breach on or about August 8, 2023 and determining

that Private Information was involved in the breach on August 2, 2023, Defendant did not begin

sending notices of the Data Breach (the “Notice of Data Breach Letter”) until September 1, 2023.

        8.      The Private Information compromised in the Data Breach included certain personal

or protected health information of current and former employees and patients, including Plaintiffs.

This Private Information included, but is not limited to: names, addresses, emails, phone numbers,



1
  https://apps.web.maine.gov/online/aeviewer/ME/40/3b1d6421-e4c2-456f-b46e-e9689b9aa953.shtml (accessed
September 19, 2023).
2
  https://www.justkids-dental.com/breach/ (last accessed September 19, 2023).
                                                    2
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birth dates, Social Security numbers, driver’s license numbers, health insurance policy

information, treatment information including radiographic images, medical record numbers,

account numbers, and health conditions.3

           9.        The Private Information compromised in what JKD refers to as a “cybersecurity

incident” in which its “computer systems and network were attacked by a malicious actor.”4 In

other words, the cybercriminals intentionally targeted JKD for the highly sensitive Private

Information it stores on its computer network, attacked the insufficiently secured network, then

exfiltrated highly sensitive PII and PHI, including but not limited to Social Security numbers. As

a result, the Private Information of Plaintiffs and Class remains in the hands of those cyber-

criminals.

           10.       The Data Breach was a direct result of Defendant’s failure to implement adequate

and reasonable cyber-security procedures and protocols necessary to protect individuals’ Private

Information with which it was entrusted for either treatment or employment or both.

           11.       Plaintiffs bring this class action lawsuit on behalf of themselves and all others

similarly situated to address Defendant’s inadequate safeguarding of Class Members’ Private

Information that it collected and maintained, and for failing to provide timely and adequate notice

to Plaintiffs and other Class Members that their information had been subject to the unauthorized

access of an unknown third party and including in that notice precisely what specific types of

information were accessed and taken by cybercriminals.

           12.       Defendant maintained the Private Information in a reckless manner. In particular,

the Private Information was maintained on Defendant JKD’s computer network in a condition


3
    Id. (last accessed September 19, 2023).
4
    See Plaintiff Notice Letter, attached as Exhibit A.
                                                          3
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vulnerable to cyberattacks. Upon information and belief, the mechanism of the Data Breach and

potential for improper disclosure of Plaintiffs’ and Class Members’ Private Information was a

known risk to Defendant, and thus Defendant was on notice that failing to take steps necessary to

secure the Private Information from those risks left that property in a dangerous condition.

       13.     Defendant disregarded the rights of Plaintiffs and Class Members (defined below)

by, inter alia, intentionally, willfully, recklessly, or negligently failing to take adequate and

reasonable measures to ensure its data systems were protected against unauthorized intrusions;

failing to disclose that it did not have adequately robust computer systems and security practices

to safeguard Plaintiffs’ and Class Members’ Private Information; failing to take standard and

reasonably available steps to prevent the Data Breach; and failing to provide Plaintiffs and Class

Members with prompt and full notice of the Data Breach.

       14.     In addition, Defendant JKD failed to properly monitor the computer network and

systems that housed the Private Information. Had JKD properly monitored its property, it would

have discovered the intrusion sooner rather than allowing cybercriminals almost a month of

unimpeded access to the PII and PHI of Plaintiffs and Class Members.

       15.     Plaintiffs’ and Class Members’ identities are now at risk because of Defendant’s

negligent conduct since the Private Information that Defendant JKD collected and maintained is

now in the hands of data thieves.

       16.     Armed with the Private Information accessed in the Data Breach, data thieves can

commit a variety of crimes including, e.g., opening new financial accounts in Class Members’

names, taking out loans in Class Members’ names, using Class Members’ information to obtain

government benefits, filing fraudulent tax returns using Class Members’ information, filing false

medical claims using Class Members’ information, obtaining driver’s licenses in Class Members’
                                                4
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names but with another person’s photograph, and giving false information to police during an

arrest.

          17.   As a result of the Data Breach, Plaintiffs and Class Members have been exposed to

a heightened and imminent risk of fraud and identity theft. Plaintiffs and Class Members must now

and for years into the future closely monitor their financial accounts to guard against identity theft.

          18.   Plaintiffs and Class Members may also incur out of pocket costs for, e.g.,

purchasing credit monitoring services, credit freezes, credit reports, or other protective measures

to deter and detect identity theft.

          19.   Through this Complaint, Plaintiffs seek to remedy these harms on behalf of

themselves and all similarly situated individuals whose Private Information was accessed during

the Data Breach (the “Class”).

          20.   Accordingly, Plaintiffs brings this action against Defendant seeking redress for its

unlawful conduct, and asserting claims for: (i) negligence, (ii) negligence per se, (iii) breach of

implied contract, (iv) breach of fiduciary duty; and (v) unjust enrichment, and (vi) declaratory

relief.

          21.   Plaintiffs seek remedies including, but not limited to, compensatory damages,

reimbursement of out-of-pocket costs, and injunctive relief including improvements to

Defendant’s data security systems, future annual audits, as well as long-term and adequate credit

monitoring services funded by Defendant, and declaratory relief.

                                             PARTIES

          22.   Plaintiff Latris Jolla is and at all times mentioned herein was an individual citizen

of the State of Louisiana, residing in the city of Baton Rouge in the Parish of East Baton Rouge,


                                                  5
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and is the parent of a patient of JKD. Plaintiff Jolla received notice of the Data Breach dated

September 13, 2023, attached in Exhibit A

       23.     Plaintiff Carliyah Bracken is and at all times mentioned herein was an individual

citizen of the State of Louisiana, residing in the city of Baton Rouge in the Parish of East Baton

Rouge, and is the child of Latris Jolla who received a Data Breach notice regarding her PII/PHI

dated September 13, 2023, attached in Exhibit A.

       24.     Defendant Acadia Health LLC, d/b/a Just Kids Dental is a limited liability

company, organized under the laws of Delaware. It is registered with the State of Louisiana as a

non-Louisiana LLC with its registered office in Louisiana located at 3867 Plaza Tower Dr., 1st

Floor, Baton Rouge, Louisiana 70816, and its principal business office in Louisiana located at

3502 S Carrollton Avenue, New Orleans, Louisiana 70118. Upon information and belief, all

members of the LLC are citizens of states other than Louisiana.

       25.     Just Kids Dental can be served through its registered agent Registered Agent

Solutions at 3867 Plaza Tower, 1st Floor, Baton Rouge, Louisiana 70816.

       26.     Manager/Officer of the LLC, Chandler Dollins, maintains an office at 7150 Cahaba

Valley Rd., Suite 101, Birmingham, Alabama 35242.

                                 JURISDICTION AND VENUE

       27.     This Court has subject matter jurisdiction over this action under 28 U.S.C.

§ 1332(d) because this is a class action wherein the amount in controversy exceeds the sum or

value of $5,000,000, exclusive of interest and costs, there are more than 100 members in the

proposed class, and at least one member of the class is a citizen of a state different from Defendant.

       28.     The Court has general personal jurisdiction over Defendant because, personally or

through its agents, Defendant operates, conducts, engages in, or carries on a business or business
                                                  6
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venture in Louisiana; it is registered with the Secretary of State in Louisiana as a limited liability

company; it maintains its headquarters in Louisiana; and committed tortious acts in Louisiana.

        29.      Venue is proper in this District pursuant to 28 U.S.C. § 1391 because it is the district

within which JKD maintains a physical dental office location within the District where Plaintiffs

interactions with JKD took place.



                                       FACTUAL ALLEGATIONS

                                            Defendant’s Business

        30.      Defendant Acadia Health, LLC d/b/a Just Kids Dental “provides affordable and

quality dental health care to all children ages birth-21, through the collaboration of General

Dentist, Pediatric Dentist, and Endodontic Specialist.”5

        31.      JKD claims, it “exists for the purpose of providing quality dental care for our

patients in a safe and caring environment, improving their overall medical condition resulting in a

higher quality of life.”6

        32.       The JKD system includes locations in New Orleans, Kenner, and Baton Rouge. It

was founded in 2009 at the location in Baton Rouge, Louisiana.7

        33.      For the purposes of this Class Action Complaint, all of JKD’s associated locations

will be referred to collectively as “JKD.”




5
  https://www.justkids-dental.com/ (last accessed September 20, 2023).
6
  https://www.justkids-dental.com/about-us/ (last accessed September 20, 2023).
7
  Id.
                                                        7
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        34.      In the ordinary course of receiving medical care services from Defendant JKD, or

alternatively being employed by JKD, each patient and employee must provide (and Plaintiffs did

provide) Defendant JKD with sensitive, personal, and private information, such as their:

                Name, address, phone number, and email address;

                Date of birth;

                Social Security number;

                Marital status;

                Employer with contact information;

                Primary and secondary insurance policy holders’ name, address, date of birth, and

                 Social Security number;

                Demographic information;

                Driver’s license or state or federal identification;

                Information relating to the individual’s medical and medical history;

                Insurance information and coverage; and

                Banking and/or credit card information.

        35.      Defendant also creates and stores medical records and other protected health

information for its patients, records of treatments and diagnoses.

        36.      Upon information and belief, JKD’s HIPAA Notice of Privacy Practices (“Privacy

Policy”) is provided to every patient both prior to receiving treatment and upon request.8 JKD’s




8
 https://justkids-dental.com/wp-content/uploads/2012/11/Revised-Privacy-Practices-English.pdf; https://justkids-
dental.com/wp-content/uploads/2012/11/HIPAA-Consent-English.pdf (last accessed September 20, 2023).
                                                        8
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Privacy Notice makes clear that it understands that its patients’ Private Information is personal and

must be protected by law.

           37.      Defendant JKD agreed to and undertook legal duties to maintain the protected

health and personal information entrusted to it by Plaintiffs and Class Members safely,

confidentially, and in compliance with all applicable laws, including the Federal Trade

Commission Act (“FTCA”), 15 U.S.C. § 45, and the Health Insurance Portability and

Accountability Act (“HIPAA”).

           38.      Yet, through its failure to properly secure the Private Information of Plaintiffs and

Class, JKD failed to meet its own promises of patient privacy.

           39.      The patient information held by Defendant JKD in its computer system and network

included the highly sensitive Private Information of Plaintiffs and Class Members.

                                                  The Data Breach

           40.      A data breach occurs when cyber criminals intend to access and steal Private

Information that has not been adequately secured by a business entity like JKD.

           41.      According to Defendant’s website Notice, it learned of a cyber attack on its

computer systems on or around August 8, 2023, when it took many of the healthcare provider’s

networked systems offline, adversely affecting patient treatment, scheduling, and the ability to

access patient histories.9

           42.      Upon information and belief, Defendant has yet to notify HHS of the Data Breach.

As of September 20, 2023, Defendant’s breach is not present on the HHS Data Breach Report. 10




9
    https://www.justkids-dental.com/breach/ (last accessed September 20, 2023).
10
     https://ocrportal.hhs.gov/ocr/breach/breach_report.jsf (last accessed September 20, 2023).
                                                            9
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           43.      Since the Data Breach, according to Defendant’s website notice, at least one

ransomware group, has claimed responsibility for the attack and JKD has paid a ransom to them.

JKD has relied on the “word” of cybercriminals to trust they have not misused the data they stole.

           44.      In January 2023, HHS created a presentation specifically for healthcare providers

and IT departments, warning entities like JKD of the severe threats posed by Royal, BlackCat and

similar cybercriminal groups.11 Within the healthcare industry, the risk of a cyber attack is well-

known and preventable with adequate security systems in place.

           45.      On or about September 13, 2023, a little over a month after JKD learned that the

Class’s Private Information was attacked by cybercriminals, JKD patients began receiving their

notices of the Data Breach informing them that its investigation determined that their Private

Information was accessed.

           46.      JKD’s notice letters list time-consuming, generic steps that victims of data security

incidents can take, such as getting a copy of a credit report or notifying law enforcement about

suspicious financial account activity. JKD did not even offer any complimentary credit monitoring

or identity theft services to help victims “remain vigilant against incidents of identity theft and

fraud”12 JKD offered no other substantive steps to help victims like Plaintiffs and Class Members

to protect themselves. On information and belief, JKD sent a similar generic letter to all other

individuals affected by the Data Breach.

           47.      JKD’s data security obligations were particularly important given the substantial

increase in cyberattacks in recent years.




11
     https://www.hhs.gov/sites/default/files/royal-blackcat-ransomware-tlpclear.pdf (last accessed July 19, 2023).
12
     https://www.justkids-dental.com/breach/
                                                           10
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       48.     JKD knew or should have known that its electronic records would be targeted by

cybercriminals.

       49.     JKD had obligations created by HIPAA, FTCA, contract, industry standards,

common law, and representations made to Plaintiffs and Class Members to keep their Private

Information confidential and to protect it from unauthorized access and disclosure.

       50.     Plaintiffs and Class Members provided their Private Information to Defendant with

the reasonable expectation and mutual understanding that Defendant would comply with its

obligations to keep such information confidential and secure from unauthorized access.

                                    The Data Breach was a
                      Foreseeable Risk of which Defendant was on Notice.


       51.     It is well known that PII, including Social Security numbers in particular, is a

valuable commodity and a frequent, intentional target of cyber criminals. Companies that collect

such information, including JKD, are well-aware of the risk of being targeted by cybercriminals.

       52.     Individuals place a high value not only on their PII, but also on the privacy of that

data. Identity theft causes severe negative consequences to its victims, as well as severe distress

and hours of lost time trying to fight against the impact of identity theft.

       53.     A data breach increases the risk of becoming a victim of identity theft. Victims of

identity theft can suffer from both direct and indirect financial losses. According to a research

study published by the Department of Justice, “[a] direct financial loss is the monetary amount the

offender obtained from misusing the victim’s account or personal information, including the

estimated value of goods, services, or cash obtained. It includes both out-of-pocket loss and any

losses that were reimbursed to the victim. An indirect loss includes any other monetary cost caused

by the identity theft, such as legal fees, bounced checks, and other miscellaneous expenses that are
                                                  11
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not reimbursed (e.g., postage, phone calls, or notary fees). All indirect losses are included in the

calculation of out-of-pocket loss.” 13

        54.      Individuals, like Plaintiffs and Class members, are particularly concerned with

protecting the privacy of their Social Security numbers, which are the key to stealing any person’s

identity and is likened to accessing your DNA for hacker’s purposes.

        55.      Data Breach victims suffer long-term consequences when their Social Security

numbers are taken and used by hackers. Even if they know their Social Security numbers are being

misused, Plaintiffs and Class Members cannot obtain new numbers unless they become a victim

of Social Security number misuse.

        56.      The Social Security Administration has warned that “a new number probably won’t

solve all your problems. This is because other governmental agencies (such as the IRS and state

motor vehicle agencies) and private businesses (such as banks and credit reporting companies) will

have records under your old number. Along with other personal information, credit reporting

companies use the number to identify your credit record. So, using a new number won’t guarantee

you a fresh start. This is especially true if your other personal information, such as your name and

address, remains the same.”14

        57.      In 2021, there were a record 1,862 data breaches, surpassing both 2020’s total of

1,108 and the previous record of 1,506 set in 2017.15




13
   “Victims of Identity Theft, 2018,” U.S. Department of Justice (April 2021, NCJ 256085) available at:
https://bjs.ojp.gov/content/pub/pdf/vit18.pdf (last accessed September 20, 2023).
14
   https://www.ssa.gov/pubs/EN-05-10064.pdf (last accessed September 20, 2023).
15
   https://www.cnet.com/tech/services-and-software/record-number-of-data-breaches-reported-in-2021-new-report-
says/ (last accessed September 20, 2023).
                                                      12
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        58.      Additionally in 2021, there was a 15.1% increase in cyberattacks and data breaches

since 2020. Over the next two years, in a poll done on security executives, they have predicted an

increase in attacks from “social engineering and ransomware” as nation-states and cybercriminals

grow more sophisticated. Unfortunately, these preventable causes will largely come from

“misconfigurations, human error, poor maintenance, and unknown assets.”16

        59.      Cyberattacks have become so notorious that the FBI and U.S. Secret Service have

issued a warning to potential targets so they are aware of, and prepared for, and hopefully can ward

off a cyberattack.

        60.      According to an FBI publication, “[r]ansomware is a type of malicious software, or

malware, that prevents you from accessing your computer files, systems, or networks and demands

you pay a ransom for their return. Ransomware attacks can cause costly disruptions to operations

and the loss of critical information and data.” 17 This publication also explains that “[t]he FBI does

not support paying a ransom in response to a ransomware attack. Paying a ransom doesn’t

guarantee you or your organization will get any data back. It also encourages perpetrators to target

more victims and offers an incentive for others to get involved in this type of illegal activity.”18

        61.      Despite the prevalence of public announcements of data breach and data security

compromises, and despite its own acknowledgments of data security compromises, and despite its

own acknowledgment of its duties to keep PII private and secure, JKD failed to take appropriate

steps to protect the PII of Plaintiffs and the proposed Class from being compromised.




16
   https://www.forbes.com/sites/chuckbrooks/2022/06/03/alarming-cyber-statistics-for-mid-year-2022-that-you-
need-to-know/?sh=176bb6887864 (last accessed September 20, 2023).
17
   https://www.fbi.gov/how-we-can-help-you/safety-resources/scams-and-safety/common-scams-and-
crimes/ransomware (last accessed September 20, 2023).
18
   Id.
                                                      13
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                              Data Breaches are Rampant in Healthcare.

        62.      Defendant’s data security obligations were particularly important given the

substantial increase in data breaches in the healthcare industry preceding the date of the breach.

        63.      According to an article in the HIPAA Journal posted on October 14, 2022,

cybercriminals hack into medical practices for their “highly prized” medical records. “[T]he

number of data breaches reported by HIPAA-regulated entities continues to increase every year.

2021 saw 714 data breaches of 500 or more records reported to the [HHS’ Office for Civil Rights]

OCR – an 11% increase from the previous year. Almost three-quarters of those breaches were

classified as hacking/IT incidents.”19

        64.      Healthcare organizations are easy targets because “even relatively small healthcare

providers may store the records of hundreds of thousands of patients. The stored data is highly

detailed, including demographic data, Social Security numbers, financial information, health

insurance information, and medical and clinical data, and that information can be easily

monetized.”20

        65.      The HIPAA Journal article goes on to explain that patient records, like those stolen

from JKD, are “often processed and packaged with other illegally obtained data to create full

record sets (fullz) that contain extensive information on individuals, often in intimate detail.” The

record sets are then sold on dark web sites to other criminals and “allows an identity kit to be

created, which can then be sold for considerable profit to identity thieves or other criminals to

support an extensive range of criminal activities.”21



19
   https://www.hipaajournal.com/why-do-criminals-target-medical-records/ (last accessed September 20, 2023).
20
   Id.
21
   Id.
                                                       14
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         66.      Data breaches such as the one experienced by Defendant JKD have become so

notorious that the Federal Bureau of Investigation (“FBI”) and U.S. Secret Service have issued a

warning to potential targets so they are aware of, can prepare for, and hopefully can ward off a

potential attack.

         67.       In fact, according to the cybersecurity firm Mimecast, 90% of healthcare

organizations experienced cyberattacks in the past year.22

         68.      HHS data shows more than 39 million patients' information was exposed in the first

half of 2023 in nearly 300 incidents and that healthcare beaches have doubled between 2020 and

2023, according to records compiled from HHS data by Health IT Security.23

         69.      According to Advent Health University, when an electronic health record “lands in

the hands of nefarious persons the results can range from fraud to identity theft to extortion. In

fact, these records provide such valuable information that hackers can sell a single stolen medical

record for up to $1,000.”24

         70.       The significant increase in attacks in the healthcare industry, and attendant risk of

future attacks, is widely known to the public and to anyone in that industry, including Defendant

JKD.

                       Defendant Fails to Protect Children’s Private Information




22
   See Maria Henriquez, Iowa City Hospital Suffers Phishing Attack, Security Magazine (Nov. 23, 2020),
https://www.securitymagazine.com/articles/93988-iowa-city-hospital-suffers-phishing-attack (last accessed
September 20, 2023).
23
   https://healthitsecurity.com/features/biggest-healthcare-data-breaches-reported-this-year-so-far (last accessed
September 20, 2023).
24
   https://www.ahu.edu/blog/data-security-in-healthcare (last accessed September 20, 2023).
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        71.      According to a 2021 study by Javelin Research and Strategy, child identity fraud

affects one out of every 500 children annually, costs U.S. families nearly $1 billion annually, and

takes parents and guardians far longer to resolve than adult identity fraud.25

        72.      According to this research, “One of the most daunting challenges, as it relates to

detecting the theft or compromise of a child’s identity, is that fraud typically takes place years after

a child’s personally identifiable information (PII) is initially breached.” Because children are not

filing taxes, applying for loans, and opening bank accounts, misuse of their Private Information is

less often flagged early, and therefore can abused for much longer before detected.26

        73.      A child’s “blank slate” provides cyber criminals the opportunity to create a

“synthetic” identity using both real and fictitious information to seek loans since a child’s Social

Security number completely lacks a credit history.27

        74.      According to the FTC, cybercriminals armed with children’s Social Security

numbers, name, address, and date of birth are able to: apply for government benefits, like health

care coverage or nutrition assistance; open a bank or credit card account; apply for a loan; sign up

for a utility service, like water or electricity; or rent a place to live.28

        75.      Although checking a child’s credit report is a step that concerned parents should

take, it is more difficult that checking an adult’s credit report. A child’s credit check may require

requesting that each of the three reporting agencies perform a manual search and may require

providing additional documentation, including but not limited to: the parent or legal guardian’s


25
   https://www.javelinstrategy.com/research/child-identity-fraud-web-deception-and-loss (last accessed June 8,
2022).
26
   Id.
27
   What is Child Identity Theft?, Identity Theft Resource Center, https://www.idtheftcenter.org/help_center/what-
you-need-to-know-about-child-identity-theft/ (last accessed June 8, 2022).
28
   https://consumer.ftc.gov/articles/how-protect-your-child-identity-theft (last accessed June 8, 2022).
                                                        16
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driver’s license or government-issued identification card; proof of the parent or legal guardian’s

address, (a utility bill, or a credit card or insurance statement); the child’s birth certificate; and the

child’s Social Security card.29 Each of these requirements can present hurdles—and are time-

consuming—for parents who receive notice of a data breach affecting a child. And for families

with multiple children, like those of the Plaintiffs, the hurdles rise exponentially.

        76.      Data breaches of a children’s hospital, like that of ETCH, result in widespread and

extremely long-term problems for their patient families, who may be reeling from the impact for

years if not decades.

                           Defendant Fails to Comply with FTC Guidelines.

        77.       The Federal Trade Commission (“FTC”) has promulgated numerous guides for

businesses which highlight the importance of implementing reasonable data security practices.

According to the FTC, the need for data security should be factored into all business decision-

making.

        78.      In October 2016, the FTC updated its publication, Protecting Personal

Information: A Guide for Business, which established cyber-security guidelines for businesses.

The guidelines note that businesses should protect the personal patient information that they keep;

properly dispose of personal information that is no longer needed; encrypt information stored on

computer networks; understand their network’s vulnerabilities; and implement policies to correct

any security problems.30 The guidelines also recommend that businesses use an intrusion detection

system to expose a breach as soon as it occurs; monitor all incoming traffic for activity indicating


29
  Id.
30
  Protecting Personal Information: A Guide for Business, Federal Trade Commission (2016). Available at
https://www.ftc.gov/system/files/documents/plain-language/pdf-0136_proteting-personal-information.pdf (last
accessed September 20, 2023).
                                                       17
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someone is attempting to hack the system; watch for large amounts of data being transmitted from

the system; and have a response plan ready in the event of a breach.31

           79.   The FTC further recommends that companies not maintain PII longer than is

needed for authorization of a transaction; limit access to sensitive data; require complex passwords

to be used on networks; use industry-tested methods for security; monitor for suspicious activity

on the network; and verify that third-party service providers have implemented reasonable security

measures.

           80.   The FTC has brought enforcement actions against businesses, like that of JKD, for

failing to adequately and reasonably protect patient data, treating the failure to employ reasonable

and appropriate measures to protect against unauthorized access to confidential consumer data as

an unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act (“FTCA”),

15 U.S.C. § 45. Orders resulting from these actions further clarify the measures businesses must

take to meet their data security obligations.

           81.   These FTC enforcement actions include actions against healthcare providers like

Defendant. See, e.g., In the Matter of LabMD, Inc., A Corp, 2016-2 Trade Cas. (CCH) ¶ 79708,

2016 WL 4128215, at *32 (MSNET July 28, 2016) (“[T]he Commission concludes that LabMD’s

data security practices were unreasonable and constitute an unfair act or practice in violation of

Section 5 of the FTC Act.”).

           82.   Defendant failed to properly implement basic data security practices.




31
     Id.
                                                 18
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        83.     Defendant’s failure to employ reasonable and appropriate measures to protect

against unauthorized access to patients’ PII and PHI constitutes an unfair act or practice prohibited

by Section 5 of the FTC Act, 15 U.S.C. § 45.

        84.     Defendant was at all times fully aware of its obligation to protect the PII and PHI

of its patients and employees. Defendant was also aware of the significant repercussions that would

result from its failure to do so.

                       Defendant Fails to Comply with Industry Standards.

        85.     As shown above, experts studying cyber security routinely identify healthcare

providers as being particularly vulnerable to cyberattacks because of the value of the PII and PHI

which they collect and maintain.

        86.     Several best practices have been identified that a minimum should be implemented

by healthcare providers like Defendant, including but not limited to: educating all employees;

utilizing strong passwords; creating multi-layer security, including firewalls, anti-virus, and anti-

malware software; encryption, making data unreadable without a key; using multi-factor

authentication; protecting backup data, and; limiting which employees can access sensitive data.

        87.     Other best cybersecurity practices that are standard in the healthcare industry

include installing appropriate malware detection software; monitoring and limiting the network

ports; protecting web browsers and email management systems; setting up network systems such

as firewalls, switches and routers; monitoring and protection of physical security systems;

protection against any possible communication system; training staff regarding critical points.

        88.     Defendant failed to meet the minimum standards of any of the following

frameworks: the NIST Cybersecurity Framework Version 1.1 (including without limitation

PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7, PR.AT-1, PR.DS-1, PR.DS-5,
                                                 19
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PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-7, DE.CM-8, and RS.CO-2), and the Center for

Internet Security’s Critical Security Controls (CIS CSC), which are all established standards in

reasonable cybersecurity readiness.

       89.     These frameworks are existing and applicable industry standards in the healthcare

industry, yet Defendant failed to comply with these accepted standards, thereby opening the door

to and failing to thwart the Data Breach.

                             Defendant’s Conduct Violates HIPAA.

       90.     HIPAA requires covered entities such as Defendant to protect against reasonably

anticipated threats to the security of sensitive patient health information (PHI).

       91.     Covered entities must implement safeguards to ensure the confidentiality, integrity,

and availability of PHI. Safeguards must include physical, technical, and administrative

components.

       92.     Title II of HIPAA contains what are known as the Administrative Simplification

provisions. 42 U.S.C. §§ 1301, et seq. These provisions require, among other things, that the

Department of Health and Human Services (“HHS”) create rules to streamline the standards for

handling PII like the data Defendant left unguarded. The HHS subsequently promulgated multiple

regulations under authority of the Administrative Simplification provisions of HIPAA. These rules

include 45 C.F.R. § 164.306(a)(1-4); 45 C.F.R. § 164.312(a)(1); 45 C.F.R. § 164.308(a)(1)(i); 45

C.F.R. § 164.308(a)(1)(ii)(D), and 45 C.F.R. § 164.530(b).

       93.     A Data Breach such as the one Defendant experienced, is considered a breach under

the HIPAA rules because there is an access of PHI not permitted under the HIPAA Privacy Rule:

               A breach under the HIPAA Rules is defined as, “...the acquisition,
               access, use, or disclosure of PHI in a manner not permitted under

                                                 20
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               the [HIPAA Privacy Rule] which compromises the security or
               privacy of the PHI.” See 45 C.F.R. 164.40.

       94.     Defendant’s Data Breach resulted from a combination of insufficiencies that

demonstrate it failed to comply with safeguards mandated by HIPAA regulations.




                Defendant has Breached its Obligations to Plaintiffs and Class.

       95.     Defendant breached its obligations to Plaintiffs and Class Members and/or was

otherwise negligent and reckless because it failed to properly maintain and safeguard its computer

systems and its patients’ data. Defendant’s unlawful conduct includes, but is not limited to, the

following acts and/or omissions:

               a. Failing to maintain an adequate data security system to reduce the risk of data

                  breaches and cyber-attacks;

               b. Failing to adequately protect patients’ Private Information;

               c. Failing to properly monitor its own data security systems for existing intrusions;

               d. Failing to ensure that vendors with access to Defendant’s protected health data

                  employed reasonable security procedures;

               e. Failing to ensure the confidentiality and integrity of electronic PHI it created,

                  received, maintained, and/or transmitted, in violation of 45 C.F.R. §

                  164.306(a)(1);

               f. Failing to implement technical policies and procedures for electronic

                  information systems that maintain electronic PHI to allow access only to those

                  persons or software programs that have been granted access rights in violation

                  of 45 C.F.R. § 164.312(a)(1);
                                                21
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     g. Failing to implement policies and procedures to prevent, detect, contain, and

        correct security violations in violation of 45 C.F.R. § 164.308(a)(1)(i);

     h. Failing to implement procedures to review records of information system

        activity regularly, such as audit logs, access reports, and security incident

        tracking reports in violation of 45 C.F.R. § 164.308(a)(1)(ii)(D);

     i. Failing to protect against reasonably anticipated threats or hazards to the

        security or integrity of electronic PHI in violation of 45 C.F.R. § 164.306(a)(2);

     j. Failing to protect against reasonably anticipated uses or disclosures of

        electronic PHI that are not permitted under the privacy rules regarding

        individually identifiable health information in violation of 45 C.F.R. §

        164.306(a)(3);

     k. Failing to ensure compliance with HIPAA security standard rules by

        Defendant’s workforce in violation of 45 C.F.R. § 164.306(a)(4);

     l. Failing to train all members of Defendant’s workforce effectively on the

        policies and procedures regarding PHI as necessary and appropriate for the

        members of their workforces to carry out their functions and to maintain

        security of PHI, in violation of 45 C.F.R. § 164.530(b); and/or

     m. Failing to render the electronic PHI it maintained unusable, unreadable, or

        indecipherable to unauthorized individuals, as it had not encrypted the

        electronic PHI as specified in the HIPAA Security Rule by “the use of an

        algorithmic process to transform data into a form in which there is a low

        probability of assigning meaning without use of a confidential process or key”

        (45 CFR 164.304 definition of encryption).
                                     22
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           96.      As the result of maintaining its computer systems in manner that required security

upgrading, inadequate procedures for handling emails containing ransomware or other malignant

computer code, and inadequately trained employees who opened files containing the ransomware

virus, Defendant negligently and unlawfully failed to safeguard Plaintiffs’ and Class Members’

Private Information.

           97.      Accordingly, as outlined below, Plaintiffs and Class Members now face an

increased risk of fraud and identity theft.

                            Data Breaches Put Consumers at an Increased Risk
                                      Of Fraud and Identify Theft.

           98.      Data Breaches such as the one experienced by Plaintiffs and the Class are especially

problematic because of the disruption they cause to the overall daily lives of victims affected by

the attack.

           99.      In 2019, the United States Government Accountability Office released a report

addressing the steps consumers can take after a data breach.32 Its appendix of steps consumers

should consider, in extremely simplified terms, continues for five pages. In addition to explaining

specific options and how they can help, one column of the chart explains the limitations of the

consumers’ options. See GAO chart of consumer recommendations, reproduced and attached as

Exhibit B. It is clear from the GAO’s recommendations that the steps Data Breach victims (like

Plaintiffs and Class) must take after a breach like Defendant’s are both time consuming and of

only limited and short-term effectiveness.




32
     https://www.gao.gov/assets/gao-19-230.pdf (last accessed September 20, 2023). See attached as Ex. B.
                                                          23
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           100.   The GAO has long recognized that victims of identity theft will face “substantial

costs and time to repair the damage to their good name and credit record,” discussing the same in

a 2007 report as well (“2007 GAO Report”). 33

           101.   The FTC, like the GAO (see Exhibit B), recommends that identity theft victims

take several steps to protect their personal and financial information after a data breach, including

contacting one of the credit bureaus to place a fraud alert (consider an extended fraud alert that

lasts for 7 years if someone steals their identity), reviewing their credit reports, contacting

companies to remove fraudulent charges from their accounts, placing a credit freeze on their credit,

and correcting their credit reports.34

           102.   Identity thieves use stolen personal information such as Social Security numbers

for a variety of crimes, including credit card fraud, phone or utilities fraud, and bank/finance fraud.

           103.   Identity thieves can also use Social Security numbers to obtain a driver’s license or

official identification card in the victim’s name but with the thief’s picture; use the victim’s name

and Social Security number to obtain government benefits; or file a fraudulent tax return using the

victim’s information.

           104.   Theft of Private Information is also gravely serious. PII/PHI is a valuable property

right.35




33
   See “Data Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited; However, the Full Extent Is
Unknown,” p. 2, U.S. Government Accountability Office, June 2007, https://www.gao.gov/new.items/d07737.pdf
(last accessed September 20, 2023) (“2007 GAO Report”).
34
   See https://www.identitytheft.gov/Steps (last accessed September 20, 2023).
35
   See, e.g., John T. Soma, et al, Corporate Privacy Trend: The “Value” of Personally Identifiable Information
(“PII”) Equals the “Value” of Financial Assets, 15 Rich. J.L. & Tech. 11, at *3-4 (2009) (“PII, which companies
obtain at little cost, has quantifiable value that is rapidly reaching a level comparable to the value of traditional
financial assets.”) (citations omitted).
                                                        24
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         105.     It must also be noted there may be a substantial time lag – measured in years --

between when harm occurs versus when it is discovered, and also between when Private

Information and/or financial information is stolen and when it is used. According to the U.S.

Government Accountability Office, which has conducted studies regarding data breaches:

         [L]aw enforcement officials told us that in some cases, stolen data may be held for up to a
         year or more before being used to commit identity theft. Further, once stolen data have
         been sold or posted on the Web, fraudulent use of that information may continue for years.
         As a result, studies that attempt to measure the harm resulting from data breaches cannot
         necessarily rule out all future harm.

See 2007 GAO Report, at p. 29.

         106.     Private Information and financial information are such valuable commodities to

identity thieves that once the information has been compromised, criminals often trade the

information on the “cyber black-market” for years.

         107.     There is a strong probability that the entirety of the stolen information has been

dumped on the black market or will be dumped on the black market, meaning Plaintiffs and Class

Members are at an increased risk of fraud and identity theft for many years into the future. Thus,

Plaintiffs and Class Members must vigilantly monitor their financial and medical accounts for

many years to come.

         108.     As the HHS warns, “PHI can be exceptionally valuable when stolen and sold on a

black market, as it often is. PHI, once acquired by an unauthorized individual, can be exploited via

extortion, fraud, identity theft and data laundering. At least one study has identified the value of a

PHI record at $1000 each.”36




36
  https://www.hhs.gov/sites/default/files/cost-analysis-of-healthcare-sector-data-breaches.pdf at 2 (citations
omitted) (last accessed September 20, 2023).
                                                          25
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        109.    Furthermore, the Social Security Administration has warned that identity thieves

can use an individual’s Social Security number to apply for additional credit lines.37 Such fraud

may go undetected until debt collection calls commence months, or even years, later. Stolen Social

Security numbers also make it possible for thieves to file fraudulent tax returns, file for

unemployment benefits, or apply for a job using a false identity.38 Each of these fraudulent

activities is difficult to detect. An individual may not know that his or her Social Security Number

was used to file for unemployment benefits until law enforcement notifies the individual’s

employer of the suspected fraud. Fraudulent tax returns are typically discovered only when an

individual’s authentic tax return is rejected.

        110.    Moreover, it is not an easy task to change or cancel a stolen Social Security number.

An individual cannot obtain a new Social Security number without significant paperwork and

evidence of actual misuse. Even then, a new Social Security number may not be effective, as “[t]he

credit bureaus and banks are able to link the new number very quickly to the old number, so all of

that old bad information is quickly inherited into the new Social Security number.”39

        111.    This data, as one would expect, demands a much higher price on the black market.

Martin Walter, senior director at cybersecurity firm RedSeal, explained, “[c]ompared to credit card

information, personally identifiable information and Social Security numbers are worth more than

10x on the black market.”40


37
   Identity Theft and Your Social Security Number, Social Security Administration (last accessed September 20,
2023). (2018) at 1. Available at https://www.ssa.gov/pubs/EN-05-10064.pdf (last accessed September 20, 2023).
38
   Id. at 4.
39
   Brian Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce Back, NPR (Feb. 9, 2015),
http://www.npr.org/2015/02/09/384875839/data-stolen-by-anthem-s-hackers-has-millions-worrying-about-identity-
theft (last accessed September 20, 2023).
40
   Tim Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit Card Numbers, Computer
World (Feb. 6, 2015), http://www.itworld.com/article/2880960/anthem-hack-personal-data-stolen-sells-for-10x-
price-of-stolen-credit-card-numbers.html (last accessed September 20, 2023).
                                                     26
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        112.    In recent years, the medical and financial services industries have experienced

disproportionally higher numbers of data theft events than other industries. Defendant therefore

knew or should have known this and strengthened its data systems accordingly. Defendant was put

on notice of the substantial and foreseeable risk of harm from a data breach, yet it failed to properly

prepare for that risk.

                                 PLAINTIFFS’ EXPERIENCES

        The Jolla Family

        113.    Plaintiff Carliyah Bracken is and at all times mentioned herein was an individual

citizen residing in the State of Louisiana, in the Parish of East Baton Rouge. Plaintiff Carliyah

Bracken is an 18-year-old former patient treated at JKD. When she went to JKD as a minor, her

mother and legal guardian, Latris Jolla was required to provide JKD with her Private Information.

        114.    Plaintiff Latris Jolla is and at all times mentioned herein was an individual citizen

residing in the State of Louisiana, in the Parish of East Baton Rouge. She is the parent (as well as

legal guardian) of her child who has been treated at various times and undergone routine

procedures at JKD. Each time she took her child to JKD, Lynne Cadenas was required to provide

JKD with her child’s Private Information.

        115.    On or about September 13, 2023 the Jolla family received one (or possibly 2) Notice

Letters, related to JKD’s August 2023 Data Breach. See Notice Letter sent to Latris Jolla, attached

as Exhibit A.

        116.    The Notice Letter received by the Jolla family was for the parent/or guardian of the

child being treated at JKD and for the child treated at JKD who has now reached the age of

majority.


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       117.    The Notice Letters that the Jolla family received listed an extensive amount of their

PII and PHI that was in files which were involved in the Data Breach. Although the breached data

varies from parent to child, JKD admitted that the copied or viewed data includes various

combinations of: names, addresses, email, phone number(s), birth dates, Social Security numbers,

driver’s license numbers, health insurance policy information, treatment information including

radiographic images, medical record numbers, account numbers, and health conditions. Exh. A

       118.    Latris Jolla and her daughter are alarmed by the amount of their Private Information

that was stolen or accessed. Latris Jolla is even more alarmed by the fact that her child’s Social

Security number was identified as among the breached data on JKD’s computer system. She

recognizes her child may be victims of fraud due to this Data Breach for years if not decades.

       119.    Plaintiff Latris Jolla is also concerned about the effects of the data breach on herself.

Each time she took her child to JKD, she was required to provide extensive Personal Information

about herself to secure payment for their treatment. She received that her information had been

breached, and has been receiving a significantly higher number of spam calls. Her telephone

number was always used as the contact number for her child’s medical care.

       120.    Since realizing how extensive the JKD Data Breach was, the Jolla family has spent

considerable time monitoring their bank accounts, as recommended by JKD in its Notice Letter.

Additionally, Plaintiff Carliyah Bracken has been receiving multiple credit card offers in the mail

since the Data Breach. She is alarmed that this may be in connection to the breach.

       121.    The Jolla family is aware that cybercriminals often sell Private Information, and

that the children’s Private Information could be abused months or even years after a data breach.

       122.    Had Latris Jolla been aware that JKD’s computer systems were not secure, she

would not have entrusted JKD with the so much of her and her child’s Private Information.
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                      PLAINTIFFS’ AND CLASS MEMBERS’ INJURIES

       179.       To date, Defendant JKD has done absolutely nothing to compensate Plaintiffs and

Class Members for the damages they sustained in the Data Breach.

       180.       Defendant JKD has not even offered one year of credit monitoring services while

admitting that victims need to monitor for potential misuse of private information, a tacit admission

that its failure to protect their Private Information has caused Plaintiffs and Class great injuries.

See Ex. A. These limited services are inadequate when victims are likely to face many years of

identity theft.

       181.       JKD’s offer fails to sufficiently compensate victims of the Data Breach, who

commonly face multiple years of ongoing identity theft, and it entirely fails to provide any

compensation for its unauthorized release and disclosure of Plaintiffs’ and Class Members’

Private Information, out of pocket costs, and the time they are required to spend attempting

to mitigate their injuries.

       182.       Furthermore, Defendant JKD’s credit monitoring offer and advice (see Ex. A) to

Plaintiffs and Class Members squarely places the burden on Plaintiffs and Class Members, rather

than on the Defendant, to investigate and protect themselves from Defendant’s tortious acts

resulting in the Data Breach. Defendant merely sent instructions to Plaintiffs and Class Members

about actions they can affirmatively take to protect themselves.

       183.       Plaintiffs and Class Members have been damaged by the compromise and

exfiltration of their Private Information in the Data Breach, and by the severe disruption to their

lives as a direct and foreseeable consequence of this Data Breach.

       184.       Plaintiffs’ and Class Members’ Private Information was compromised and

exfiltrated by cyber-criminals as a direct and proximate result of the Data Breach.
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        185.      Plaintiffs and Class were damaged in that their Private Information is now in the

hands of cyber criminals, sold and potentially for sale for years into the future.

        186.      As a direct and proximate result of Defendant’s conduct, Plaintiffs and Class

Members have been placed at an actual, imminent, and substantial risk of harm from fraud and

identity theft.

        187.      As a direct and proximate result of Defendant’s conduct, Plaintiffs and Class

Members have been forced to expend time dealing with the effects of the Data Breach.

        188.      Plaintiffs and Class Members face substantial risk of out-of-pocket fraud losses

such as loans opened in their names, medical services billed in their names, tax return fraud, utility

bills opened in their names, credit card fraud, and similar identity theft. Plaintiffs and Class

Members may also incur out-of-pocket costs for protective measures such as credit monitoring

fees, credit report fees, credit freeze fees, and similar costs directly or indirectly related to the Data

Breach.

        189.      Plaintiffs and Class Members face substantial risk of being targeted for future

phishing, data intrusion, and other illegal schemes based on their Private Information as potential

fraudsters could use that information to more effectively target such schemes to Plaintiffs and

Class Members.

        190.      Plaintiffs and Class Members also suffered a loss of value of their Private

Information when it was acquired by cyber thieves in the Data Breach. Numerous courts have

recognized the propriety of loss of value damages in related cases.

        191.      Plaintiffs and Class Members have spent and will continue to spend significant

amounts of time to monitor their financial accounts and records for misuse.


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       192.    Plaintiffs and Class Members have suffered or will suffer actual injury as a direct

result of the Data Breach. Many victims suffered ascertainable losses in the form of out-of-pocket

expenses and the value of their time reasonably incurred to remedy or mitigate the effects of the

Data Breach relating to:

               a. Finding fraudulent charges;

               b. Canceling and reissuing credit and debit cards;

               c. Purchasing credit monitoring and identity theft prevention;

               d. Monitoring their medical records for fraudulent charges and data;

               e. Addressing their inability to withdraw funds linked to compromised accounts;

               f. Taking trips to banks and waiting in line to obtain funds held in limited

                  accounts;

               g. Placing “freezes” and “alerts” with credit reporting agencies;

               h. Spending time on the phone with or at a financial institution to dispute

                  fraudulent charges;

               i. Contacting financial institutions and closing or modifying financial accounts;

               j. Resetting automatic billing and payment instructions from compromised credit

                  and debit cards to new ones;

               k. Paying late fees and declined payment fees imposed as a result of failed

                  automatic payments that were tied to compromised cards that had to be

                  cancelled; and

               l. Closely reviewing and monitoring bank accounts and credit reports for

                  unauthorized activity for years to come.


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       193.    Moreover, Plaintiffs and Class Members have an interest in ensuring that their

Private Information, which is believed to remain in the possession of Defendant, is protected from

further breaches by the implementation of security measures and safeguards, including but not

limited to, making sure that the storage of data or documents containing personal and financial

information as well as health information is not accessible online and that access to such data is

password-protected.

       194.    Further, as a result of Defendant’s conduct, Plaintiffs and Class Members are forced

to live with the anxiety that their Private Information —which contains the most intimate details

about a person’s life—may be disclosed to the entire world, thereby subjecting them to

embarrassment and depriving them of any right to privacy whatsoever.

       195.    Defendant’s delay in identifying and reporting the Data Breach caused additional

harm. In a data breach, time is of the essence to reduce the imminent misuse of PII and PHI. Early

notification helps a victim of a Data Breach mitigate their injuries, and in the converse, delayed

notification causes more harm and increases the risk of identity theft. Here, JKD knew of the

breach since August 8, 2023 and did not notify the victims until September 13, 2023. Yet, JKD

offered no explanation of purpose for the delay. This delay violates HIPAA and other notification

requirements and increases the injuries to Plaintiffs and Class.

                              CLASS ACTION ALLEGATIONS

       196.    Plaintiffs bring this action on behalf of themselves and on behalf of all other persons

similarly situated.

       197.    Plaintiffs propose the following Class definition, subject to amendment as

appropriate:


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       All persons whose Private Information was compromised as a result of the Data
       Breach discovered by Acadia Health, LLC d/b/a Just Kids Dental in August 2023
       and to whom it provided notice in or about September 2023 (the “Class”).

       198.    Excluded from the Class are Defendant’s officers and directors, and any entity in

which Defendant has a controlling interest; and the affiliates, legal representatives, attorneys,

successors, heirs, and assigns of Defendant. Excluded also from the Class are Members of the

judiciary to whom this case is assigned, their families and Members of their staff.

       199.    Plaintiffs hereby reserve the right to amend or modify the class definitions with

greater specificity or division after having had an opportunity to conduct discovery. The proposed

Class meets the criteria for certification under the Fed. R. Civ. P. Rule 23.

       200.    Numerosity, Fed. R. Civ. P. 23(a)(1): The Members of the Class are so numerous

that joinder of all of them is impracticable. The exact number of Class Members is believed to be

around 129, 623 individuals.

       201.    Commonality. As required by Fed. R. Civ. P. 23(a)(2) and (b)(3), there are

questions of law and fact common to the Class, which predominate over any questions affecting

only individual Class Members. These common questions of law and fact include, without

limitation:

          a.      Whether Defendant unlawfully used, maintained, lost, or disclosed Plaintiffs’

                  and Class Members’ Private Information;

          b.      Whether Defendant failed to implement and maintain reasonable security

                  procedures and practices appropriate to the nature and scope of the information

                  compromised in the Data Breach;

          c.      Whether Defendant’s data security systems prior to and during the Data Breach

                  complied with applicable data security laws and regulations;
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          d.     Whether Defendant’s data security systems prior to and during the Data Breach

                 were consistent with industry standards;

          e.     Whether Defendant owed a duty to Class Members to safeguard their Private

                 Information;

          f.     Whether Defendant breached its duty to Class Members to safeguard their

                 Private Information;

          g.     Whether computer hackers obtained Class Members’ Private Information in the

                 Data Breach;

          h.     Whether Defendant knew or should have known that its data security systems

                 and monitoring processes were deficient;

          i.     Whether Plaintiffs and Class Members suffered legally cognizable damages as a

                 result of Defendant’s misconduct;

          j.     Whether Defendant failed to provide notice of the Data Breach in a timely

                 manner; and

          k.     Whether Plaintiffs and Class Members are entitled to damages, civil penalties,

                 punitive damages, and/or injunctive relief.

        202.   Typicality, Plaintiffs’ claims are typical of those of other Class Members because

Plaintiff’s Private Information, like that of every other Class member, was compromised in the

Data Breach. Fed. R. Civ. P. 23(a)(3).

        203.    Adequacy of Representation, Fed. R. Civ. P. 23(a)(4): Plaintiffs will fairly and

adequately represent and protect the interests of the Members of the Class. Plaintiffs’ Counsel is

competent and experienced in litigating class actions, including data privacy litigation of this

kind.
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       204.    Ascertainability: The class is or may be defined objectively in terms of

ascertainable criteria, such that the court may determine the constituency of the class for purposes

of the conclusiveness of any judgment that may be rendered in the case.

       205.    Superiority, Fed. R. Civ. P. 23(b)(3): A class action is superior to other available

methods for the fair and efficient adjudication of the controversy. Class treatment of common

questions of law and fact is superior to multiple individual actions or piecemeal litigation. Absent

a class action, most Class Members would likely find that the cost of litigating their individual

claims is prohibitively high and would therefore have no effective remedy. The prosecution of

separate actions by individual Class Members would create a risk of inconsistent or varying

adjudications with respect to individual Class Members, which would establish incompatible

standards of conduct for Defendant. In contrast, the conduct of this action as a class action presents

far fewer management difficulties, conserves judicial resources and the parties’ resources, and

protects the rights of each Class member.

       206.    Defendant has acted on grounds that apply generally to the Class as a whole, so that

class certification, injunctive relief, and corresponding declaratory relief are appropriate on a

Class-wide basis.

       207.    Likewise, particular issues are appropriate for certification because such claims

present only particular, common issues, the resolution of which would advance the disposition of

this matter and the parties’ interests therein. Such particular issues include, but are not limited to:

          a.        Whether Defendant failed to timely notify the public of the Data Breach;

          b.        Whether Defendant owed a legal duty to Plaintiffs and the Class to exercise due

                    care in collecting, storing, and safeguarding their Private Information;


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          c.     Whether Defendant’s security measures to protect their data systems were

                 reasonable in light of best practices recommended by data security experts;

          d.     Whether Defendant’s failure to institute adequate protective security measures

                 amounted to negligence;

          e.     Whether Defendant failed to take commercially reasonable steps to safeguard

                 consumer Private Information; and

          f.     Whether adherence to FTC data security recommendations, and measures

                 recommended by data security experts would have reasonably prevented the

                 Data Breach;

          g.     Whether Defendant failed to abide by its responsibilities under HIPAA.

       208.    Finally, all members of the proposed Class are readily ascertainable. Defendant has

access to Class Members’ names and addresses affected by the Data Breach. Class Members have

already been preliminarily identified and sent notice of the Data Breach by Defendant.


                                     CAUSES OF ACTION

                                         First Count
                                          Negligence
                         (On Behalf of Plaintiffs and Class Members)

       209.    Plaintiffs re-allege and incorporate the above allegations as if fully set forth herein.

       210.    Defendant JKD required Plaintiffs and Class Members to submit non-public

personal information in order to obtain healthcare/medical services and/or employment.

       211.    By collecting and storing this data in JKD’s computer property, and sharing it and

using it for commercial gain, Defendant had a duty of care to use reasonable means to secure and

safeguard their computer property—and Class Members’ Private Information held within it—to

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prevent disclosure of the information, and to safeguard the information from theft. Defendant’s

duty included a responsibility to implement processes by which it could detect a breach of their

security systems in a reasonably expeditious period of time and to give prompt notice to those

affected in the case of a Data Breach.

       212.    Defendant owed a duty of care to Plaintiffs and Class Members to provide data

security consistent with industry standards and other requirements discussed herein, and to ensure

that its systems and networks, and the personnel responsible for them, adequately protected the

Private Information.

       213.    Defendant’s duty of care to use reasonable security measures arose as a result of

the special relationship that existed between Defendant JKD and its patients, which is recognized

by laws and regulations including but not limited to HIPAA, as well as common law. Defendant

was in a position to ensure that its systems were sufficient to protect against the foreseeable risk

of harm to Class Members from a Data Breach.

       214.    Defendant’s duty to use reasonable security measures under HIPAA required

Defendant to “reasonably protect” confidential data from “any intentional or unintentional use or

disclosure” and to “have in place appropriate administrative, technical, and physical safeguards to

protect the privacy of protected health information.” 45 C.F.R. § 164.530(c)(1). Some or all of the

healthcare, medical, and/or medical information at issue in this case constitutes “protected health

information” within the meaning of HIPAA.

       215.    In addition, Defendant had a duty to employ reasonable security measures under

Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45, which prohibits “unfair . . .

practices in or affecting commerce,” including, as interpreted and enforced by the FTC, the unfair

practice of failing to use reasonable measures to protect confidential data.
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       216.    Defendant’s duty to use reasonable care in protecting confidential data arose not

only as a result of the statutes and regulations described above, but also because Defendant is

bound by industry standards to protect confidential Private Information.

       217.    Defendant breached its duties, and thus were negligent, by failing to use reasonable

measures to protect Class Members’ Private Information. The specific negligent acts and

omissions committed by Defendant include, but are not limited to, the following:

          a.      Failing to adopt, implement, and maintain adequate security measures to

                  safeguard Class Members’ Private Information;

          b.      Failing to adequately monitor the security of their networks and systems;

          c.      Failure to periodically ensure that their email system had plans in place to

                  maintain reasonable data security safeguards;

          d.      Allowing unauthorized access to Class Members’ Private Information;

          e.      Failing to detect in a timely manner that Class Members’ Private Information

                  had been compromised; and

          f.      Failing to timely notify Class Members about the Data Breach so that they could

                  take appropriate steps to mitigate the potential for identity theft and other

                  damages.

       218.    It was foreseeable that Defendant’s failure to use reasonable measures to protect

Class Members’ Private Information would result in injury to Class Members. Further, the breach

of security was reasonably foreseeable given the known high frequency of cyberattacks and data

breaches in the healthcare industry.

       219.    It was therefore foreseeable that the failure to adequately safeguard Class Members’

Private Information would result in one or more types of injuries to Class Members.
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       220.    Plaintiffs and Class Members are entitled to compensatory and consequential

damages suffered as a result of the Data Breach.

       221.    Defendant’s negligent conduct is ongoing, in that it still holds the Private

Information of Plaintiffs and Class Members in an unsafe and unsecure manner.

       222.     Plaintiffs and Class Members are also entitled to injunctive relief requiring

Defendant to (i) strengthen its data security systems and monitoring procedures; (ii) submit to

future annual audits of those systems and monitoring procedures; and (iii) continue to provide

adequate credit monitoring to all Class Members.


                                        Second Count
                                      Negligence Per Se
                       (On Behalf of Plaintiffs and All Class Members)

       223.    Plaintiffs re-allege the above allegations as if fully set forth herein.

       224.    Pursuant to the Federal Trade Commission Act, 15 U.S.C. § 45, Defendant had a

duty to provide fair and adequate computer systems and data security practices to safeguard

Plaintiffs’ and Class Members’ Private Information.

       225.    Pursuant to HIPAA, 42 U.S.C. § 1302d, et seq., Defendant had a duty to implement

reasonable safeguards to protect Plaintiffs’ and Class Members’ Private Information.

       226.    Pursuant to HIPAA, Defendant had a duty to render the electronic PHI they

maintained unusable, unreadable, or indecipherable to unauthorized individuals, as specified in the

HIPAA Security Rule by “the use of an algorithmic process to transform data into a form in which

there is a low probability of assigning meaning without use of a confidential process or key.” See

definition of encryption at 45 C.F.R. § 164.304.




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       227.    Defendant breached its duties to Plaintiffs and Class Members under the Federal

Trade Commission Act and HIPAA by failing to provide fair, reasonable, or adequate computer

systems and data security practices to safeguard Plaintiffs’ and Class Members’ Private

Information.

       228.    Defendant’s failure to comply with applicable laws and regulations constitutes

negligence per se.

       229.    But for Defendant’s wrongful and negligent breach of their duties owed to Plaintiffs

and Class Members, Plaintiffs and Class Members would not have been injured.

       230.    The injury and harm suffered by Plaintiffs and Class Members was the reasonably

foreseeable result of Defendant’s breach of their duties. Defendant knew or should have known

that it failed to meet its duties, and that Defendant’s breach would cause Plaintiffs and Class

Members to experience the foreseeable harms associated with the exposure of their Private

Information.

       231.    As a direct and proximate result of Defendant’s negligent conduct, Plaintiffs and

Class Members have suffered injury and are entitled to compensatory, consequential, and punitive

damages in an amount to be proven at trial.

                                        Third Count
                                Breach of Implied Contract
                         (On Behalf of Plaintiffs and Class Members)

       232.    Plaintiffs re-allege the above allegations as if fully set forth herein.

       233.    Plaintiffs and Class Members provided their Private Information to Defendant JKD

in exchange for Defendant’s medical services, they entered into implied contracts with Defendant

pursuant to which Defendant agreed to reasonably protect such information.


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       234.    Defendant solicited, offered, and invited Class Members to provide their Private

Information as part of Defendant’s regular business practices. Plaintiffs and Class Members

accepted Defendant’s offers and provided their Private Information to Defendant.

       235.    In entering into such implied contracts, Plaintiffs and Class Members reasonably

believed and expected that Defendant’s data security practices complied with relevant laws and

regulations, including HIPAA, and were consistent with industry standards.

       236.    Plaintiffs and Class Members paid money to Defendant with the reasonable belief

and expectation that Defendant would use part of its earnings to obtain adequate data security.

Defendant failed to do so.

       237.    Plaintiffs and Class Members would not have entrusted their Private Information to

Defendant in the absence of the implied contract between them and Defendant to keep their

information reasonably secure.

       238.    Plaintiffs and Class Members would not have entrusted their Private Information to

Defendant in the absence of its implied promise to monitor their computer systems and networks

to ensure that it adopted reasonable data security measures.

       239.    Plaintiffs and Class Members fully and adequately performed their obligations

under the implied contracts with Defendant.

       240.    Defendant breached its implied contracts with Class Members by failing to

safeguard and protect their Private Information.

       241.    As a direct and proximate result of Defendant’s breach of the implied contracts,

Class Members sustained damages as alleged herein, including the loss of the benefit of the

bargain.


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       242.    Plaintiffs and Class Members are entitled to compensatory, consequential, and

nominal damages suffered as a result of the Data Breach.

       243.    Plaintiffs and Class Members are also entitled to injunctive relief requiring

Defendant to, e.g., (i) strengthen its data security systems and monitoring procedures; (ii) submit

to future annual audits of those systems and monitoring procedures; and (iii) immediately provide

adequate long-term credit monitoring to all Class Members.

                                        Fourth Count
                                 Breach of Fiduciary Duty
                         (On Behalf of Plaintiffs and Class Members)

       244.    Plaintiffs re-allege the above allegations as if fully set forth herein.

       245.    In light of the special relationship between Defendant JKD and Plaintiffs and Class

Members, whereby Defendant became guardian of Plaintiffs’ and Class Members’ Private

Information, Defendant became a fiduciary by its undertaking and guardianship of the Private

Information, to act primarily for Plaintiffs and Class Members, (1) for the safeguarding of

Plaintiffs’ and Class Members’ Private Information; (2) to timely notify Plaintiffs and Class

Members of a Data Breach and disclosure; and (3) to maintain complete and accurate records of

what information (and where) Defendant did and does store.

       246.    Defendant has a fiduciary duty to act for the benefit of Plaintiffs and Class Members

upon matters within the scope of its relationship with its current and former patients and employees

to keep secure their Private Information.

       247.    Defendant breached its fiduciary duties to Plaintiffs and Class Members by failing

to diligently discover, investigate, and give detailed notice of the Data Breach to Plaintiffs and

Class in a reasonable and practicable period of time.


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       248.      Defendant breached its fiduciary duties to Plaintiffs and Class Members by failing

to encrypt and otherwise protect the integrity of the systems containing Plaintiffs’ and Class

Members’ Private Information.

       249.      Defendant breached its fiduciary duties owed to Plaintiffs and Class Members by

failing to timely notify and/or warn Plaintiffs and Class Members of the Data Breach.

       250.      Defendant breached its fiduciary duties to Plaintiffs and Class Members by

otherwise failing to safeguard Plaintiffs’ and Class Members’ Private Information.

       251.      As a direct and proximate result of Defendant’s breaches of its fiduciary duties,

Plaintiffs and Class Members have suffered and will suffer injury, including but not limited to: (i)

actual identity theft; (ii) the compromise, publication, and/or theft of their Private Information;

(iii) out-of-pocket expenses associated with the prevention, detection, and recovery from identity

theft and/or unauthorized use of their Private Information; (iv) lost opportunity costs associated

with effort expended and the loss of productivity addressing and attempting to mitigate the actual

and future consequences of the Data Breach, including but not limited to efforts spent researching

how to prevent, detect, contest, and recover from identity theft; (v) the continued risk to their

Private Information, which remains in Defendant’s possession and is subject to further

unauthorized disclosures so long as Defendant fails to undertake appropriate and adequate

measures to protect the Private Information in their continued possession; (vi) future costs in terms

of time, effort, and money that will be expended as result of the Data Breach for the remainder of

the lives of Plaintiffs and Class Members; and (vii) the diminished value of Defendant’s services

they received.




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       252.    As a direct and proximate result of Defendant’s breach of its fiduciary duties,

Plaintiffs and Class Members have suffered and will continue to suffer other forms of injury and/or

harm, and other economic and non-economic losses.


                                         Fifth Count
                                     Unjust Enrichment
                         (On Behalf of Plaintiffs and Class Members)

       253.    Plaintiffs re-allege the above allegations as if fully set forth herein. Plaintiffs bring

this claim individually and on behalf of all Class Members. This count is plead in the alternative

to the breach of contract count above.

       254.    Upon information and belief, Defendant funds its data security measures entirely

from its general revenue, including payments made by or on behalf of Plaintiffs and the Class

Members.

       255.    As such, a portion of the payments made by or on behalf of Plaintiffs and the Class

Members is to be used to provide a reasonable level of data security, and the amount of the portion

of each payment made that is allocated to data security is known to Defendant.

       256.    Plaintiffs and Class Members conferred a monetary benefit on Defendant.

Specifically, they purchased goods and services from Defendant and/or its agents and in so doing

provided Defendant with their Private Information. In exchange, Plaintiffs and Class Members

should have received from Defendant the goods and services that were the subject of the

transaction and have their Private Information protected with adequate data security.

       257.    Defendant knew that Plaintiffs and Class Members conferred a benefit which

Defendant accepted. Defendant profited from these transactions and used the Private Information

of Plaintiffs and Class Members for business purposes.

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       258.    In particular, Defendant enriched itself by saving the costs it reasonably should

have expended on data security measures to secure Plaintiff’s and Class Members’ Personal

Information. Instead of providing a reasonable level of security that would have prevented the

hacking incident, Defendant instead calculated to increase its own profits at the expense of

Plaintiffs and Class Members by utilizing cheaper, ineffective security measures. Plaintiffs and

Class Members, on the other hand, suffered as a direct and proximate result of Defendant’s

decision to prioritize its own profits over the requisite security.

       259.    Under the principles of equity and good conscience, Defendant should not be

permitted to retain the money belonging to Plaintiffs and Class Members, because Defendant failed

to implement appropriate data management and security measures that are mandated by industry

standards.

       260.    Defendant failed to secure Plaintiffs’ and Class Members’ Private Information and,

therefore, did not provide full compensation for the benefit Plaintiffs and Class Members provided.

       261.    Defendant acquired the Private Information through inequitable means in that it

failed to disclose the inadequate security practices previously alleged.

       262.    If Plaintiffs and Class Members knew that Defendant had not reasonably secured

their Private Information, they would not have agreed to provide their Private Information to

Defendant.

       263.    Plaintiffs and Class Members have no adequate remedy at law.

       264.    As a direct and proximate result of Defendant’s conduct, Plaintiffs and Class

Members have suffered and will suffer injury, including but not limited to: (a) actual identity theft;

(b) the loss of the opportunity of how their Private Information is used; (c) the compromise,

publication, and/or theft of their Private Information; (d) out-of-pocket expenses associated with
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the prevention, detection, and recovery from identity theft, and/or unauthorized use of their Private

Information; (e) lost opportunity costs associated with efforts expended and the loss of productivity

addressing and attempting to mitigate the actual and future consequences of the Data Breach,

including but not limited to efforts spent researching how to prevent, detect, contest, and recover

from identity theft; (f) the continued risk to their Private Information, which remains in

Defendant’s possession and is subject to further unauthorized disclosures so long as Defendant

fails to undertake appropriate and adequate measures to protect Private Information in their

continued possession; and (g) future costs in terms of time, effort, and money that will be expended

to prevent, detect, contest, and repair the impact of the Private Information compromised as a result

of the Data Breach for the remainder of the lives of Plaintiffs and Class Members.

       265.    As a direct and proximate result of Defendant’s conduct, Plaintiffs and Class

Members have suffered and will continue to suffer other forms of injury and/or harm.

       266.    Defendant should be compelled to disgorge into a common fund or constructive

trust, for the benefit of Plaintiffs and Class Members, proceeds that they unjustly received from

them. In the alternative, Defendant should be compelled to refund the amounts that Plaintiffs and

Class Members overpaid for Defendant’s services.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray for judgment as follows:

           a) For an Order certifying this action as a class action and appointing Plaintiffs and

               their counsel to represent the Class;

           b) For equitable relief enjoining Defendant from engaging in the wrongful conduct

               complained of herein pertaining to the misuse and/or disclosure of Plaintiffs’ and


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              Class Members’ Private Information, and from refusing to issue prompt, complete

              and accurate disclosures to Plaintiffs and Class Members;

          c) For equitable relief compelling Defendant to utilize appropriate methods and

              policies with respect to consumer data collection, storage, and safety, and to

              disclose with specificity the type of Private Information compromised during the

              Data Breach;

          d) For equitable relief requiring restitution and disgorgement of the revenues

              wrongfully retained as a result of Defendant’s wrongful conduct;

          e) Ordering Defendant to pay for not less than ten years of credit monitoring services

              for Plaintiffs and the Class;

          f) For an award of actual damages, compensatory damages, statutory damages, and

              statutory penalties, in an amount to be determined, as allowable by law;

          g) For an award of attorneys’ fees and costs, and any other expense, including expert

              witness fees;

          h) Pre- and post-judgment interest on any amounts awarded; and

          i) Such other and further relief as this court may deem just and proper.




                                  JURY TRIAL DEMANDED

     Plaintiffs demand a trial by jury on all claims so triable.


Dated: September 26, 2023                     Respectfully submitted,

                                              /s/ M. Palmer Lambert
                                              M. PALMER LAMBERT (#33228)

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